           Case 3:16-cv-01345-AWT Document 87 Filed 07/28/17 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,
                               Plaintiffs,
                                                       No. 3:16-cv-01345-AWT
v.
YALE UNIVERSITY et al.,
                                                       Hon. Alvin W. Thompson
                               Defendants.


             PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENTAL
               BRIEF REGARDING ADDITIONAL AUTHORITY [DOC. 86]

      The decision in White v. Chevron Corp. (Chevron II), No. 16-793, Doc. 63 (N.D. Cal. May

31, 2017), appeal docketed, No. 17-16208 (9th Cir. June 9, 2017),1 is not a “supplemental”

authority. Yale’s motion to dismiss already heavily relied upon the same court’s order regarding

the first complaint in that case. See Doc. 62-1 at 23, 26, 29 n.40, pp. 30, 36 n.47, pp. 43, 46;2

Doc. 73 at 6 n.1, p. 12 (citing White v. Chevron Corp. (Chevron I), No. 16-793, 2016 U.S. Dist.

LEXIS 115875 (N.D. Cal. Aug. 29, 2016)). The second order, which addressed an amended

complaint, mostly readopts the first order. Chevron II, Order at 10 (treating opposition as a

“motion for reconsideration”); id. at 18, 19, 20, 23, 25, 37 (relying on reasons stated in “August

29, 2016 order” or “prior order”). Thus, Chevron II offers nothing new for this Court to consider.

It is unpersuasive and factually distinguishable for the same reasons as the first decision. See

Doc. 69 at 27, 28 n.15, p. 37 n.24, p. 41 n.27.

      Yale argues Chevron II is relevant because the court dismissed claims due to a lack of

allegations regarding the fiduciary’s process for selecting investments, including a claim based

on the use of higher-cost retail-class mutual funds instead of available institutional-class shares.


  1
      A copy of the Chevron II order was attached to Yale’s supplemental brief. See Doc. 86-1.
  2
      “Doc.” page citations refer to the page numbers shown on the ECF header.
          Case 3:16-cv-01345-AWT Document 87 Filed 07/28/17 Page 2 of 4



Doc. 86 at 1–3. The court adhered to its prior ruling that using the higher-cost shares did not

raise an inference of imprudence, because “fiduciaries have latitude to value investment features

other than price,” and “ERISA does not require fiduciaries to ‘scour the market to find and offer

the cheapest possible funds.’” Chevron II, Order at 20:13–21, 25:26–26:2 (quoting Chevron I,

2016 U.S. Dist. LEXIS 115875, at *31–32). That reasoning is unpersuasive for several reasons.

      First, by merely readopting its prior order, the court failed to acknowledge the intervening

decision in Tibble v. Edison International (Tibble IV), 843 F.3d 1187 (9th Cir. 2016), in which

the en banc Ninth Circuit, on remand from the Supreme Court, analyzed the issue of mutual fund

share classes at length and unanimously held that fiduciaries have a duty to minimize costs and

to avoid wasting participants’ money on unnecessary retail fees. Id. at 1197–98.

      Second, the court’s discussion of “investment features other than price” overlooks that the

different share classes of a given mutual fund have no different features other than price. See

Doc. 69 at 28 (citing Tibble v. Edison Int’l, 135 S. Ct. 1823, 1826 (2015));3 id. at 33 n.20 (Yale

informed participants that “[t]here is no difference” between share classes other than lower

expenses). That is precisely why courts have readily concluded that when a large plan with the

bargaining power to obtain available lower-cost shares fails to do so, it is at least plausible that

the fiduciary’s process for selecting the funds was flawed. Doc. 69 at 10 n.2, pp. 24–25, 28–31.

      Third, it is unnecessary to “scour the market” to find a lower-cost share class of a mutual

fund. See Doc. 69 at 28 & n.15. With even a minimal investigation, the available share classes of

  3
     See also Tibble IV, 843 F.3d at 1198 (institutional-class shares “are substantially identical—
other than their lower cost—to” retail-class shares)(emphasis added); Tibble v. Edison Int’l, No.
07-5359, 2010 U.S. Dist. LEXIS 69119, at *53 n.14 (C.D. Cal. July 8, 2010)(finding fiduciaries
liable for “imprudent decision to invest in more expensive, but otherwise identical, retail share
classes when cheaper institutional share classes were available.”) (emphasis added), aff’d, 729
F.3d 1110, 1137 (9th Cir. 2013)(“[C]rucially … there were no salient differences in the
investment quality or management.”), vacated on other grounds, 135 S. Ct. 1823 (2015).



                                                  2
          Case 3:16-cv-01345-AWT Document 87 Filed 07/28/17 Page 3 of 4



a given fund would be readily apparent to an investment professional. Id. at 28–29. Under

Second Circuit law, the failure to use such a readily available, superior alternative raises a

plausible inference of a flawed process. Id. at 16–17 (citing PBGC ex rel. St. Vincent Catholic

Med. Ctrs. Ret. Plan v. Morgan Stanley Inv. Mgmt. Co., 712 F.3d 705, 719 (2d Cir. 2013)

(complaint sufficient if it alleges “that a superior alternative investment was readily apparent

such that an adequate investigation would have uncovered that alternative.”)).4

      Fourth, the Chevron court relied on facts that are not present here. Within the first two years

of the class period, 10 of the 13 retail share classes at issue were removed and the use of revenue

sharing to pay for recordkeeping was replaced with a flat, $23 per-participant fee, and the

remaining three retail funds were removed by the end of the class period. Chevron II, Order at

13:9–11, 25:2–5, 30:7–11; Chevron I, 2016 U.S.Dist. LEXIS 115875, at *26, 34; Chevron Am.

Compl., Doc. 41 ¶¶79–85, 123. Here, Yale has included a total of 74 retail share class funds in

the Plan since 2010, including 40 that remained in the Plan for at least three years of the class

period, over 30 for at least four years, and a number that still have not been removed, well over

six years into the class period. Doc. 69 at 9, 25, 32–34 & n.21. As a result of Yale retaining

higher-cost share classes which pay more in revenue sharing to the Plan’s recordkeepers, the

Plan continued to pay excessive recordkeeping fees of up to $300 per participant per year—an

amount over eight times higher than the reasonable market rate. Id. at 12, 35–36.

      In sum, Chevron II does not support Yale’s arguments for dismissal.




  4
     That flawed process includes a plausible failure of prudence or loyalty. See Doc. 69 at 25–
27. The disloyalty claim in Chevron was based in part on allegations that the company favored
the recordkeeper because of its policy of “voting securities in favor of management positions.”
Chevron II, Order at 14:18–27, 23:10–13. Plaintiffs here do not rely on such a policy.



                                                  3
         Case 3:16-cv-01345-AWT Document 87 Filed 07/28/17 Page 4 of 4



July 28, 2017                         Respectfully submitted,

                                       By: /s/ Jerome J. Schlichter
                                        Jerome J. Schlichter (phv01476)
                                        SCHLICHTER BOGARD & DENTON, LLP
                                        Michael A. Wolff (phv08418)
                                        Sean E. Soyars (phv08419)
                                        100 South Fourth Street, Suite 1200
                                        St. Louis, Missouri 63102
                                        Telephone: (314) 621-6115
                                        Facsimile: (314) 621-5934
                                        jschlichter@uselaws.com
                                        mwolff@uselaws.com
                                        ssoyars@uselaws.com

                                         Stuart M. Katz (ct12088)
                                         Cohen and Wolf, P.C.
                                         1115 Broad Street
                                         Bridgeport, CT 06604
                                         Telephone: (203) 368-0211
                                         Facsimile: (203) 337-5505
                                         skatz@cohenandwolf.com

                                          Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE

   I hereby certify that on July 28, 2017, a copy of foregoing was filed electronically using the

Court’s CM/ECF system, which will provide notice of the filing to all counsel of record.



                                             By: /s/ Jerome J. Schlichter
                                                Jerome J. Schlichter




                                                4
